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SEC requests default iudament in $34M Biozoom pump-and-dump case By Bi|| Meagher Updated 04:10
PM, lVlar-ZG-ZOM ET

The Secl_lrities and Exehange Commission plans to request a defaultjudgment against the 10
Argentine residents who have been named as defendants in the 334 million Biozoom lnc. pump-
and-dump case after two law firms representing the Argentines asked to withdraw from the case.

The SEC filed a letter Tuesday, March 18. with .Iudge Naomi Buchwald in the U.S. District
Court in Manhattan, stating that it planned to request thejudgment because the defendants had
failed to respond to the lawsuit by court ordered deadlines

Four days earlier, attorney l\/larc Agnifilo had informed the court that his lirm, New YOrk-based
Brafinan & Associates PC, would withdraw as counsel to the Argentines.

Brafman is the second firm that has represented the group charged with selling 20.3 million
shares of Biozoom without proper registration. In September, McLaughlin & Stern LLP also
withdrew.

Brafman is a high-profile criminal defense firm that has counted crime boss Salvatore "Sammy
the Bull" Gravano, rapper Sean Combs and former lnternational l\/lonetary Fund chief
Dominique Strauss-Kahn among its clients.

Agnif`llo declined to comment on the fimi's withdrawal from the Biozoom case. ln his letter to
the court he said that Brafman had been told by the Argentines that it would be retained_._ but that
a retainer agreement was never si gned.

Those named as defendants are Magdalena Tavella, Andres Horacio Ficicchia, Gonzalo Garcia
Blaya, Lucia l\/lariana l-lernando, Cecilia De Lorenzo, Adriana Rosa Bagattin, Daniela Patricia
Goldman. Mariano Pablo Ferrari. Mariano Graciarena and Fernando Loureyro.

None ofthem responded to e-mails requesting comment.

A person familiar with the case said that Buenos Aires-based lawyer .luan lgnacio Prada has been
seeking representation for the group. Prada did not respond to a request for comment.

Patrick Bryan, assistant chieflitigation counsel for the SEC, said the commission Will file
paperwork to pursue the defaultjudgment in the next month. He declined to comment further.

The SEC filed the lawsuit last July, claiming that the Argentines had opened brokerage accounts
at Arizona-based Scottsdale Capital Advisors and New York-based Legend Securities lnc.,
depositing shares and providing paperwork stating that the stock was purchased from
shareholders in Entertainment Arts Inc., the registered shell company that had merged with
Biozoom to bring it public in February 2013.

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Biozoom, which lists Kassel. Germany. as its headquarters claims to produce a "biofeedback
device" that consumers can use to monitor and analyze data related to their health.

ln its complaint` the SEC alleges that the stock purchase agreement documents were false and
that the Entertainment Art investors had sold all Oftheir stock in 2009.

The account documents furnished by the Biozoom shareholders led to speculation that members
of the group were not the real investors, but instead were simply nominees. None of the
Argentines listed investor as their profession, and none of them deposited or traded in any other
stocks, according to a person familiar with the investigation

The Argentine group is said to have included retired teachers and the owner of a delicatessen.

Scottsdale Advisors is said to have given the Biozoom shareholders perks that were not available
to other clients. They submitted trade orders by e-mail or instant messaging, which the firm did
not allow for most clients. The Biozoom shareholders were also charged commissions ofjust
2%, while other clients paid 4% to 4.5%.

The Biozoom shareholders were also allowed to wire funds from their accounts to banks in
Cyprus, Switzerland, Panama and Belize, despite a standing policy at Scottsdale that usually only
allows clients to wire funds to U.S. banks or to institutions in the country where they live.

The SEC halted trading in Biozoom on June 25 and, in July, asked the court for an emergency
order freezing the defendants assets. That kept $16 million in stock sale proceeds in the U.S.
Another $17 million had already been wired overseas prior to the freeze_

The SEC alleges says that. from March 2013 through June, the Argentines received 20 million
shares of Biozoom, which was about one-third of the company's stock. ln May. they sold 14
million shares reaping almost $34 million.

The shares were sold into a promotion that started May 16, as the company issued a series of
press releases, and continued into June. Biozoom's share price trip|ed_, reaching an intraday high
of $4.50, implying a valuation of$42!.5 million.

As of.lune 30, Biozoom owned assets valued at only $1.05 million, according to its last filing
with the SEC. ln the quarter ending .lune 30. the company had no revenue and a loss of
$328,671.

When the stock was halted, the shares were at $3.45. When trading resumed, they plunged to 13
cents, cutting more than $300 million from Biozoom`s market value.

The promotion was unusual in the form it took. It included advertising in mainstream media
outlets, including the New York Times and USA Today. ln June_, ads that took up most ofa full
page were placed in those newspapers that ostensibly promoted a London-based publication
called Global Financial Insights. But. while the ads included subscription information and other

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details about the publication most of their space was taken up with the magazine's
recommendation of Biozoom stock.

Both ads featured a headline that read. "Innovative Technology Company Invents Real 'Star
Trek' Medical Scanner that Diagnoses Patient Health in Seconds."

A recommendation for Biozoom stock also featured prominently in an advertisement for a
newsletter called TheStockReport.com that ran on the Rush Limbaugh radio show.

Previously, TheStockReport.com had produced a 24-page publication about Biozoom, which
was distributed May 16. the day that Biozoom began trading at $1.10. The report valued the
shares at 310.30.

The FBI and the Financia] industry Regulatory Authority have been investigating the
involvement of Scottsdale and Aipinc Securities. its Salt Lake City-based clearing finn in
connection with the Biozoom stock sales since May, according to a person with knowledge of
the probe.

The firms have provided securities officials with documents pertaining to the Biozoom trades
and shareholders, incIuding those sought under an unusual request from the SEC and Finra that
employees turn over all personal notes regarding Biozoom. Scottsdale and Alpine were also
forbidden from destroying any Biozoom records.

Finra has scheduled an audit of Scottsdale at the end March, according to a person familiar with
the investigation

Representatives of the SEC. Finra, Scottsdale and Alpine declined to comment An FBI
spokesman said the agency will neither confirm nor deny the existence of an investigation

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